                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                  :
                                          :
                        Complainant       :
                                          :
            v.                            :                   Case No. 1:21-CR-725 (RDM)
                                          :
JARED SAMUEL KASTNER,                     :
                                          :
                        Defendant.        :
                                          :
__________________________________________:


                     DEFENDANT JARED SAMUEL KASTNER’s
                MOTION TO APPEAR AT SENTENCING MEMORANDUM
                     BY VIDEO CONFERENCE TECHNOLOGY

       Defendant JARED SAMUEL KASTNER (“Kastner”), by and through undersigned counsel,

hereby respectfully moves the Court to allow him to participate in the scheduled pretrial conference

hearing by video zoom conferencing.

       Kastner resides in Indiana with his wife. Travel to D.C. for the pretrial hearing will place

an extreme hardship on Kastner and his family. Additionally, Kastner’s work obligations add to

this hardship, as Kastner must reschedule his work commitments.

       Second, the Probation Officer just filed a report that Defendant Kastner’s compliance with

pre-trial release from detention conditions – continued now after conviction at trial until sentencing

– has been perfect. Kastner has faithfully and painstakingly complied with all conditions.

Therefore, the Court should have no cause for concern now about his appearance at sentencing

remotely. As a necessary component of his current release, Defendant Kastner is well-grounded in

his community and extended family and has been deemed to be likely to a high confidence to

appear for trial, which of course he actually did. (Again, the conditions of release were first put in

place prior to trial and now continued through sentencing.)
Date: July 18, 2023   Respectfully Submitted,
                        /s/ John M. Pierce
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                          CERTIFICATE OF SERVICE


I hereby certify that, on July 18, 2023, this motion was filed via the
Court’s electronic filing system, which constitutes service upon all
counsel of record.
                                                   /s/ John M. Pierce
                                                   John M. Pierce
